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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 17-CR-00264-LJO
12                                Plaintiff,             STIPULATION TO CONTINUE DATE TO FILE
                                                         INFORMAL OBJECTIONS TO PRESENTENCE
13                          v.                           INVESTIGATION REPORT; ORDER
14   OSCAR BAZAN,                                        DATE: January 27, 2020
                                                         TIME: 8:30 a.m.
15                                Defendant.             COURT: Hon. Lawrence J. O'Neill
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      This matter is set for sentencing January 27, 2020.

21          2.      The Draft PSR was submitted by the U.S. Probation Office on December 16, 2019.

22 Pursuant to Local Rule 460, informal objections were due to the PSR on December 30, 2019. Given the

23 holidays, government counsel inadvertently missed the December 30, 2019 deadline. On January 3,

24 2020, the U.S. Probation Office submitted the Final PSR.

25          3.      On January 6, 2020, government counsel contacted the Probation Officer and Defense

26 Counsel about the PSR, and missing the informal objection deadline. The Probation Officer requested
27 that counsel seek input from the Court, but indicated that if it would assist the Court, the Probation

28 Officer would be willing to address the government’s informal objection, and adjust the PSR if needed.

      STIPULATION TO CONTINUE DEADLINE TO FILE           1
30    INFORMAL OBJECTIONS TO DRAFT PSR
          Case 1:17-cr-00264-LJO-SKO Document 201 Filed 01/08/20 Page 2 of 2


 1 The government seeks additional time to file informal objections to the PSR.

 2                 a)      By this stipulation, the government seeks additional time, to Wednesday January

 3         8, 2020, to file informal objections to the PSR.

 4                 b)      The Probation Officer would then submit a Final PSR by January 13, 2020.

 5         Counsel would have 7 days (or until January 20, 2020) to file Objections to the Final PSR.

 6                 c)      The defendant does not object to the continuance and the revised schedule.

 7                 d)      The Probation Officer does not object to the continuance and the revised

 8         schedule.

 9         IT IS SO STIPULATED.

10
     Dated: January 7, 2020                                   MCGREGOR W. SCOTT
11                                                            United States Attorney
12
                                                              /s/ JEFFREY A. SPIVAK
13                                                            JEFFREY A. SPIVAK
                                                              Assistant United States Attorney
14

15
     Dated: January 7, 2020                                   /s/ Patrick Aguirre
16                                                            Patrick Aguirre
17                                                            Counsel for Defendant
                                                              OSCAR BAZAN
18                                                            (as approved by email 1/7/2020)

19

20
21                                                  ORDER

22

23
     IT IS SO ORDERED.
24

25
        Dated:    January 8, 2020                           /s/ Lawrence J. O’Neill _____
                                                      UNITED STATES DISTRICT JUDGE
26
27

28

      STIPULATION TO CONTINUE DEADLINE TO FILE          2
30    INFORMAL OBJECTIONS TO DRAFT PSR
